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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION

LA UNIÓN DEL PUEBLO ENTERO et al.

vs.                                                Case No.: 5: 21-cv-844-FB
GREGORY W. ABBOTT, in his official
capacity as the Governor of Texas, et al.


                                             ORDER

       BE IT REMEMBERED on this day, there was presented to the Court the Motion for

Admission Pro Hac Vice filed by Christopher H. Bell                                 , counsel for

Plantiffs LA UNIÓN DEL PUEBLO ENTERO, SOUTHWEST VOTER REGISTRATION

EDUCATION PROJECT, MEXICAN AMERICAN BAR ASSOCIATION OF TEXAS, TEXAS

HISPANICS ORGANIZED FOR POLITICAL EDUCATION, JOLT ACTION, WILLIAM C.

VELASQUEZ INSTITUTE, and FIEL HOUSTON INC., and the Court, having reviewed the

motion, enters the following order:


       IT IS ORDERED that the Motion for Admission Pro Hac Vice is GRANTED, and

Christopher H. Bell                     may appear on behalf of LA UNIÓN DEL PUEBLO

ENTERO, SOUTHWEST VOTER REGISTRATION EDUCATION PROJECT, MEXICAN

AMERICAN BAR ASSOCIATION OF TEXAS, TEXAS HISPANICS ORGANIZED FOR

POLITICAL EDUCATION, JOLT ACTION, WILLIAM C. VELASQUEZ INSTITUTE, and

FIEL HOUSTON INC. in the above case.

       IT IS FURTHER ORDERED that Christopher H. Bell                                     , if he/she

has not already done so, shall immediately tender the amount of $100.00, made payable to: Clerk, U.S.

District Court, in compliance with Local Court Rule AT-l(f)(2).
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SIGNED this the        day of September                  , 20 21    .




                                   UNITED STATES DISTRICT JUDGE
